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                          Exhibit 2
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY
378 N. Main Avenue
Tucson, AZ 85701;

DEFENDERS OF WILDLIFE
1130 17th Street, N.W.
Washington, DC 20036;

SIERRA CLUB
2101 Webster Street, Suite 1300
Oakland, CA 94612;

CONSERVANCY OF SOUTHWEST FLORIDA
1495 Smith Preserve Way
Naples, Florida 34102;

FLORIDA WILDLIFE FEDERATION
2545 Blairstone Pines Drive
Tallahassee, FL 32301;

MIAMI WATERKEEPER
2103 Coral Way                                         CIVIL NO. 21-cv-119
Miami, FL 33145; and
                                                       COMPLAINT FOR DECLARATORY
ST. JOHNS RIVERKEEPER                                  AND INJUNCTIVE RELIEF
2800 University Blvd N
Jacksonville, FL 32211,

       Plaintiffs,

v.

U.S. ENVIRONMENTAL PROTECTION AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460;

ANDREW WHEELERMICHAEL S. REGAN, in his official
capacity as Administrator for the U.S. Environmental
Protection Agency,
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460;



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DAVE ROSSRADHIKA FOX, in hiser official capacity as
Assistant Administrator for the Office of Water of the U.S.
Environmental Protection Agency,
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460;

DAVID FOTOUHI, JEFFREY PRIETO, in his official
capacity as Acting General Counsel for the U.S.
Environmental
Protection Agency,
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460;

SUSAN BODINELAWRENCE STARFIELD, in heris
official capacity as Acting Assistant Administrator for the
Office of Enforcement and Compliance Assurance for the
U.S. Environmental Protection Agency,
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460;

MARY WALKERJOHN BLEVINS, in heris official
capacity as Acting Administrator for Region 4 of the U.S.
Environmental Protection Agency,
61 Forsyth Street SW
Atlanta, GA 30303;

U.S. FISH AND WILDLIFE SERVICE
1849 C Street, NW
Washington, DC 20240;

AURELIA SKIPWITHMARTHA WILLIAMS, in her
official capacity as Principal Deputy Director for the U.S.
Fish and Wildlife Service,
1849 C Street, NW
Washington, DC 20240;

LEOPOLDO MIRANDA-CASTRO, in his official capacity
as Regional Director for the U.S. Fish and Wildlife Service,
1875 Century Boulevard, Suite 400
Atlanta, GA 30345;

U.S. ARMY CORPS OF ENGINEERS
441 G Street, NW
Washington, DC 20314;



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 LIEUTENANT GENERAL SCOTT A. SPELLMON, in his
 official capacity as Chief of Engineers and Commanding
 General of the U.S. Army Corps of Engineers,
 441 G Street, NW
 Washington, DC 20314; and

 COLONEL ANDREW KELLYJAMES BOOTH, in his
 official capacity as District Commander of the Jacksonville
 District for the U.S. Army Corps of Engineers,
 701 San Marco Boulevard
 Jacksonville, FL 32207,

        Defendants.


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       1.      This action arises from the U.S. Environmental Protection Agency’s (“EPA”)

unlawful approval of a state application to assume jurisdiction over the Clean Water Act’s

Section 404 permitting program, which regulates the dredging and filling of waters of the United

States, including wetlands essential to water quality, storm and climate resiliency, threatened and

endangered species, and the economy. EPA’s approval is unlawful because the state’s program

is not as stringent as federal law and rests on unprecedented arrangements that violate federal

law. At a December 17, 2020, press conference in Washington, D.C., EPA Administrator

Andrew Wheeler announced the agency’s approval of the state of Florida’s novel program to

assume jurisdiction over Section 404, described the program as a roadmap, and encouraged other

states to follow suit. On December 22, 2020, the EPA published its decision in the Federal

Register, purporting to give it immediate effect, in violation of the Administrative Procedure Act

(“APA”), and without codifying the program, also in violation of federal law. The EPA’s actions

failed to effectuate a lawful transfer of authority. Yet the EPA has advised the state that it may

proceed. The EPA’s action will allow the state to violate federal law to the detriment of waters




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of the United States and the endangered and threatened species that rely on them, while

depriving those adversely affected of federal rights and remedies.

       2.      Underlying the EPA’s decision are unlawful actions by the U.S. Fish and Wildlife

Service (“USFWS”), which has failed to ensure no jeopardy to listed species and creates an

unlawful scheme for take liability coverage at the permit level, in contravention of the

Endangered Species Act (“ESA”). Also, the U.S. Army Corps of Engineers’ (“Corps”) list of

waters over which it will retain jurisdiction is arbitrarily and capriciously truncated in violation

of the Rivers and Harbors Act (“RHA”) and the APA.

       3.      Defendants’ actions threaten to open the floodgates for other states to seek

assumption without requiring that those programs meet federal standards, further imperiling

waters of the United States and the ESA-listed species that rely on them. As Administrator

Wheeler stated at the December 17th press conference, states have already been reaching out to

the EPA to follow in Florida’s footsteps. Defendants’ actions are unlawful and must be set aside.

                                        INTRODUCTION

       4.      Congress enacted the Clean Water Act to “restore and maintain the chemical,

physical, and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251. The impetus for

enacting the Clean Water Act was states’ failure to control water pollution as evidenced by

disasters like the Cuyahoga River catching on fire and the Hudson River filling with raw sewage

and toxic waste.

       5.      The Clean Water Act Section 404 wetlands permitting program (“404 program”)

regulates the discharge of dredged or fill materials into waters of the United States, including

wetlands, 33 U.S.C. § 1344, and is a vital tool to meet the Clean Water Act’s goals, recognizing




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that the degradation and destruction of wetlands is “among the most severe environmental

impacts.” See 33 U.S.C. § 1251; 40 C.F.R. § 230.1(a).

       6.        Under the federal 404 program, it is the Corps that reviews and, where

appropriate, approves permits.

       7.        Congress enacted the Endangered Species Act of 1973 (“ESA”) to, among other

things, “provide a means whereby the ecosystems upon which endangered species and threatened

species depend may be conserved [and] provide a program for the conservation of such

endangered species and threatened species.” 16 U.S.C. § 1531(2)(b).

       8.        Pursuant to Section 7(a)(2) of the ESA, the Corps must engage in formal

consultation with USFWS and National Marine Fisheries Service (“NFMS”) (collectively, “the

Services”) whenever it appears that a Section 404 permit applicant’s proposed activity may

adversely affect listed species. Through this process, permittees may obtain protection from

ESA liability for any incidental harm (called “incidental take”) to listed species on a project by

project basis.

       9.        The Clean Water Act creates a path for states to administer their own dredge and

fill permit program, if the state’s program is at least as stringent as the federal program. 33

U.S.C. § 1344(h)(1). The state must submit a “full and complete” application showing that it

meets this high bar. Id. § 1344(g); 40 C.F.R. §§ 233.10, 233.15(a). In a state 404 program, it is

a state agency, rather than the Corps, that reviews 404 permit applications and issues 404

permits.

       10.       Before a state may assume the 404 program, the EPA must determine that the

state has demonstrated authority to issue permits that assure compliance with the Clean Water

Act Section 404(b)(1) Guidelines, which, among other things, prohibit the issuance of 404



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permits that would jeopardize the existence of ESA-listed species, or result in the likelihood of

destroying or adversely modifying critical habitat identified under the ESA. 33 U.S.C.

§ 1344(h)(1)(A)(i); 40 C.F.R. §§ 230.10(b)(3), 233.11(a)–(c), 233.23.

       11.     ESA Section 7(a) consultation between the Services and federal agencies,

including the associated incidental take protection, does not extend to projects regulated under

state-operated 404 programs. 16 U.S.C. § 1536(a).

       12.     Permittees, however, must still comply with the ESA’s take prohibition, and must

therefore pursue ESA Section 10 consultation with the Services to try to obtain protection from

incidental take liability if a project may harm listed species. 16 U.S.C. § 1539.

       13.     When the EPA approves a state’s 404 program, the Administrator must notify the

state and the Corps, and, upon notification from the state that it is administering the program, the

Corps must suspend its issuance of permits covered by the state program. 33 U.S.C.

§ 1344(h)(2)(A).

       14.     Transfer of 404 permitting authority to a state is not effective until after notice is

published in the Federal Register. 40 C.F.R. § 233.15(h). As of the effective date of an

approved state program, the Corps must suspend all issuance of Section 404 permits in state-

regulated waters. Id.

       15.     The APA provides that “[t]he required publication or service of a substantive rule

shall be made not less than 30 days before its effective date” subject to certain exceptions not

applicable here. 5 U.S.C. § 553(d).

       16.     In the many years that Section 404 state assumption has been authorized under the

Clean Water Act for programs that meet stringent federal standards, the EPA has approved only




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two. In 1984, the EPA approved Michigan’s program, and in 1994, the EPA approved New

Jersey’s program. See 40 C.F.R. § 233.70 (Michigan), 40 C.F.R. § 233.71 (New Jersey).

       17.     In 2005 and in 2012, Florida considered pursuing assumption but abandoned the

effort considering conflicts between state and federal law, the high costs associated with

administering the program, and permittees’ concerns regarding protection against ESA liability.

       18.     Many other states, including most recently Arizona, have reached similar

conclusions.

       19.     On August 20, 2020, Florida applied to the EPA proposing to take over the 404

program without adopting all federal requirements, without demonstrating “no jeopardy” to

ESA-listed species, and without adequately identifying the waters over which it would assert

jurisdiction. The state also claimed it would require no funding to administer and enforce the

program, even amidst major budget cuts resulting from a pandemic which the state did not

address or even acknowledge in the application.

       20.     On August 28, 2020, the EPA nonetheless determined that the application was

“complete” as of the submission date.

       21.     The EPA’s “completeness” determination triggered a 120-day deadline to approve

or deny the application by December 18, 2020, unless the EPA and Florida agreed to extend the

timeline. See 33 U.S.C. § 1344(h)(1); 40 C.F.R. § 233.15(a).

       22.     On August 28, 2020, and at Florida’s request, the EPA reversed its long-standing

position that agency review of an assumption application was a non-discretionary act, thereby

triggering a duty to engage in ESA consultation with the Services. The EPA agreed with the

state that this duty required only a one-time programmatic consultation for purposes of

considering the application.



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       23.     Defendants and the state developed this novel position to facilitate programmatic

incidental take coverage to the state and state permittees—an unprecedented, and ultimately

unlawful, workaround to the requirements of federal law.

       24.     On September 2, 2020, the EPA submitted an “ESA Biological Evaluation for

Clean Water Act Section 404 Assumption by the State of Florida” to USFWS to initiate formal

consultation on Florida’s application. It was dated August 2020.

       25.     Also, on September 2, 2020, the EPA sent a letter to NMFS summarily

concluding that approval of the state program would have “no effect” on NMFS’ jurisdictional

marine and anadromous species. The EPA’s conclusion was solely based on an April 15, 2020,

letter by NMFS to Florida, stating that no species in NMFS’ exclusive jurisdiction would be

present “in assumable waters.” NMFS then concurred with the EPA’s determination.

       26.     The EPA’s biological evaluation was largely a cut and paste of a biological

assessment drafted by the state and was not independently assessed by the EPA.

       27.     On September 16, 2020, the EPA initiated a 45-day public comment period that

concluded on November 2, 2020. See 40 C.F.R. § 233.15(e) and 5 U.S.C. § 553. The EPA

indicated that if approved, the state program would be codified at 40 C.F.R. § 233 subpart H.

This was consistent with the agency’s codification of the only other two approved state 404

programs. See 40 C.F.R. § 233.70 (New Jersey); id. § 233.71 (Michigan).

       28.     At the October 21, 2020, EPA public hearing on Florida’s submission, Plaintiffs’

counsel urged the EPA to reverse its completeness determination considering critical omissions

in Florida’s application. In an October 23, 2020 letter, Plaintiffs’ counsel requested suspension

of the public comment period until the deficiencies were cured. See id. § 233.15(a) (statutory

review period shall not begin if the EPA finds that state’s submission is incomplete).



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       29.     The EPA did not respond to Plaintiffs’ requests and closed the public comment

period on November 2, 2020.

       30.     On November 2, 2020, Plaintiffs and many other members of the public submitted

comments challenging the legality of the EPA’s approval of the state’s proposal, the absence of

required components prejudicing the opportunity for public comment, and the proposal’s failure

to meet the requirements for a state-assumed program, particularly as it relates to the protection

of threatened and endangered species. 33 U.S.C. § 1344(g)–(h).

       31.     On November 19, 2020, USFWS transmitted to the EPA a programmatic

biological opinion dated November 17, 2020, regarding Florida’s application. USFWS’

biological opinion, in conjunction with a memorandum of understanding between USFWS and

the state, purports to authorize a “technical assistance” role outside the parameters of the ESA

that would nevertheless grant “[i]ncidental take exemption” to the EPA for its approval and

oversight of the state program, and would further grant protection from liability for any take of

listed species incidental to state-permitted activities so long as the permittee complied with the

conditions of a state-issued permit.

       32.     Neither NMFS’ April 2020 determination nor USFWS’ November 2020

biological opinion was made part of Florida’s application or otherwise presented to the public for

an opportunity to comment before the EPA acted on the state’s application.

       33.     On December 17, 2020, EPA Administrator Andrew Wheeler announced the

approval of Florida’s assumption application at a press conference in Washington, D.C.

       34.     On December 22, 2020, the EPA’s approval of the state program was published in

the Federal Register, with an immediate “applicable” date as of publication. The notice did not

codify the approved program.



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       35.     On the same day, counsel for Plaintiffs notified the EPA that its failure to codify

and failure to comply with the APA rendered the transfer ineffective and that authority to

administer the 404 program remained with the Corps.

       36.     On December 28, 2020, EPA General Counsel David Fotouhi sent a letter

claiming that the transfer was effective upon publication, that the decision was an adjudication

rather than a rulemaking, and that the agency intended to codify the program but only for

“transparency.”

                                  JURISDICTION AND VENUE

       37.     This action arises under the Clean Water Act, 33 U.S.C. §§ 1251–1387, ESA,

§§ 1531–44, and the APA, 5 U.S.C. §§ 553, 701–06.

       38.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1361, and may issue a

declaratory judgment and further relief under 28 U.S.C. §§ 2201, 2202.

       39.     Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(e) as the

Defendants include agencies of the United States and officers and employees of the United States

acting under their official capacities who reside in this district, and Plaintiff Defenders of

Wildlife maintains its principal place of business, and therefore resides, in this judicial district.

Id. §§ 1391(c)(2), (e)(1)(C).

                                              PARTIES

Plaintiffs

       40.     CENTER FOR BIOLOGICAL DIVERSITY (“Center”) is a nonprofit

organization that works through science, law, and creative media to secure a future for all

species, great or small, hovering on the brink of extinction. The Center is incorporated in




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California, headquartered in Tucson, Arizona, and maintains an office in the District of

Columbia, with field offices throughout the United States and Mexico.

       41.     The Center has 81,843 members across the country. The Center and its members

are concerned with, and have concrete interests in, the conservation of imperiled species and the

habitats they rely on for survival, including the ones at issue in this suit. The Center’s members

and staff have researched, studied, observed, litigated over, and sought protection for federally

listed threatened and endangered species in the United States, including listed turtles in Florida.

These activities support the Center’s mission to save life on earth. The Center brings this action

on behalf of itself and its adversely affected members.

       42.     DEFENDERS OF WILDLIFE (“Defenders”) is a nonprofit membership

organization that is one of the nation’s leading advocates for threatened and endangered species

and wildlife conservation. Founded in 1947, Defenders is headquartered in Washington, D.C.,

and maintains local field offices throughout the country. Defenders is dedicated to the protection

of all native wild animals and plants in their natural communities and the preservation of the

habitats upon which they depend, including in wetlands and other aquatic environments.

Defenders works toward the recovery of threatened and endangered species by means such as

monitoring and engaging in public notices and comments, litigation, research, education, and

federal, state, and local advocacy.

       43.     Defenders is a science-based conservation organization with more than 1.8

million members and supporters nationwide and around the world. Defenders and its members

aim to protect and restore imperiled species throughout North America by transforming policies

and institutions, promoting innovative solutions, and litigating over protections for threatened

and endangered species in the United States. These activities support Defenders’ mission to



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protect native plants and animals. Defenders brings this action on behalf of itself and its

adversely affected members.

       44.     SIERRA CLUB (“Sierra Club”) is a national non-profit organization dedicated to

exploring, enjoying, and protecting the wild places of the earth; to practicing and promoting the

responsible use of the earth’s ecosystems and resources; to educating and enlisting humanity to

protect and restore the quality of the natural and human environment; and to using all lawful

means to carry out these objectives.

       45.     Headquartered in Oakland, California, the Sierra Club has 67 chapters and more

than 808,000 members across the nation. Sierra Club’s concerns include the protection of

wetlands and federally listed threatened and endangered species. The Sierra Club brings this

action on behalf of itself and its adversely affected members.

       46.     CONSERVANCY OF SOUTHWEST FLORIDA (“Conservancy”) is a nonprofit

organization that is dedicated to the protection of Southwest Florida’s land, water, wildlife, and

future through advocacy, science, education, and wildlife rehabilitation. The Conservancy was

founded in 1964 in response to plans to build a road through Rookery Bay and carries on its

mission to preserve wetlands and downstream areas important to the health of the ecosystem,

economy, and quality of life.

       47.     The Conservancy has approximately 3,600 dues-paying members and over 2,000

additional donors and supporters. The Conservancy’s members and staff have researched,

studied, observed, and sought protection, including through litigation, for federally listed

threatened and endangered species and their habitat in southwest Florida. These activities

support the Conservancy’s mission to protect southwest Florida’s water, land, and wildlife. The

Conservancy brings this action on behalf of itself and its adversely affected members.



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       48.     FLORIDA WILDLIFE FEDERATION (“FWF”) is a nonprofit corporation

established in 1936. FWF has approximately 9,000 members and 60,000 supporters. FWF has

long supported environmental sustainability and conservation in Florida through education,

advocacy, and litigation.

       49.     FWF’s members and staff have researched, studied, observed, and sought

protection, including filing lawsuits, for federally listed threatened and endangered species and

their habitat. These activities support FWF’s mission to ensure that wildlife and fragile

environment have a voice. Among other things, FWF is dedicated to protecting the state’s

waterways, as wildlife cannot thrive where wetlands are drained, waters polluted, and habitats

degraded or destroyed. FWF brings this action on behalf of itself and its adversely affected

members.

       50.     MIAMI WATERKEEPER (“MWK”) is a nonprofit organization whose mission

is to defend, protect, and preserve South Florida’s watershed through citizen engagement,

education and outreach, scientific research, advocacy, and when necessary, legal action.

       51.     MWK has 165 members. MWK’s members and staff have researched, studied,

observed, patrolled, and sought protection, including filing lawsuits, for South Florida’s

watershed and the federally listed threatened and endangered species that depend on its

freshwater and marine habitats, including listed corals. These activities support MWK’s mission

to ensure swimmable, drinkable, fishable water for all. MWK brings this action on behalf of

itself and its adversely affected members.

       52.     ST. JOHNS RIVERKEEPER (“St. Johns RK”) is a nonprofit organization that

provides an independent voice to defend, advocate, and activate others to protect and restore the

St. Johns River, Florida’s longest and most significant river for commercial and recreational use.



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       53.     St. Johns RK has 1,400 members. St. Johns RK’s members and staff have

researched, studied, observed, patrolled, and sought protection, including through litigation, for

the St. Johns River watershed and the federally listed threatened and endangered species that

depend on it. These activities support St. Johns RK’s mission to ensure a thriving watershed that

sustains healthy ecosystems for future generations. St. Johns RK brings this action on behalf of

itself and its adversely affected members.

       54.     Plaintiffs and their members participated throughout the EPA’s rulemaking

process on the state’s application to assume the 404 program in an attempt to ensure that the

EPA abided the requirements of the Clean Water Act, ESA and APA, and to advocate for the

protection of endangered species, wetlands and other waterways, as well as the communities that

rely on them. Plaintiffs and their members have monitored, investigated, educated the public,

litigated, and provided science-based policy recommendations on development projects and their

associated Clean Water Act 404 permits in order to protect the environment and wildlife and

intend to continue to do so in the near future.

       55.     The above-described conservation, informational, and scientific interests of

Plaintiffs and their respective members have been, are being, and—unless the relief prayed for

herein is granted—will continue to be adversely affected and irreparably injured by the

Defendants’ failure to comply with the Clean Water Act, ESA, and APA as described below.

Plaintiffs have no adequate remedy at law.

       56.     Plaintiffs’ interests fall within the zone of interests protected by the laws sought to

be enforced in this action.




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Defendants

        57.     U.S. ENVIRONMENTAL PROTECTION AGENCY (“EPA”) is an independent

executive agency of the United States federal government with responsibility for administering

and implementing the Clean Water Act. The EPA approved Florida’s request to assume

authority over the Clean Water Act 404 program.

        58.     ANDREW WHEELER MICHAEL S. REGAN is the Administrator of the EPA

and the highest-ranking official responsible for actions taken by the EPA, including decisions to

approve state administration of Clean Water Act Section 404. Defendant Wheeler Regan is sued

in his official capacity.

        59.     RADHIKA FOXDAVE ROSS is the Assistant Administrator for EPA Office of

Water and is an official responsible for actions taken by the EPA, including the delegated

authority to approve state Clean Water Act programs. Defendant Ross Fox is sued in heris

official capacity.

        60.     JEFFREY PRIETODAVID FOTOUHI is the Acting General Counsel for the

EPA and is an official responsible for actions taken by the EPA, including the delegated

authority to approve state Clean Water Act programs. Defendant FotouhiPrieto is sued in hiers

official capacity.

        61.     LAWENCE STARFIELDSUSAN BODINE is the Acting Assistant Administrator

for the Office of Enforcement and Compliance Assurance for the EPA and is an official

responsible for actions taken by the EPA, including the delegated authority to approve state

Clean Water Act programs. Defendant Bodine Starfield is sued in hiser official capacity.

        62.     JOHN BLEVINSMARY WALKER is the Acting Regional Administrator for

EPA Region 4 and is an official responsible for actions taken by the EPA, including the



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delegated authority to approve state Clean Water Act programs. Defendant Walker Blevins is

sued in hiser official capacity.

       63.     Defendants WheelerRegan, RossFox, FotouhiPrieto, BodineStarfield, Walker

Blevins and the EPA will collectively be referred to as “EPA.”

       64.     U.S. FISH AND WILDLIFE SERVICE (“USFWS”) is an agency within the U.S.

Department of the Interior and has joint delegated responsibilities of administering and

implementing the ESA along with NMFS. USFWS issued the programmatic biological opinion

and incidental take statement that are challenged here and underlie the EPA’s challenged action.

       65.     MARTHA WILLIAMSAURELIA SKIPWORTH is the Principal Deputy

Director of USFWS and highest-ranking official responsible for actions taken by USFWS,

including compliance with and implementation of the ESA. Defendant Skipworth Williams is

sued in her official capacity.

       66.     LEOPOLDO MIRANDA-CASTRO is Regional Director of USFWS and is an

official responsible for actions taken by USFWS, including the biological opinion and incidental

take statement in this case. Defendant Miranda-Castro is sued in his official capacity.

       67.     Defendants SkipworthWilliams, Miranda-Castro and USFWS will collectively be

referred to as “USFWS.”

       68.     U.S. ARMY CORPS OF ENGINEERS (“Corps”) is a federal agency organized

under the U.S. Department of Defense. The Corps is charged with administering permits under

section 404 of the Clean Water Act for the discharge of dredged or fill material into the waters of

the United States and ensuring that the requirements of NEPA, the RHA and the ESA are

fulfilled in connection with all evaluation and decision-making concerning such permits. The




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Corps issued the “retained waters list” that is challenged here and underlies the EPA’s

challenged action.

        69.     LIEUTENANT GENERAL SCOTT A. SPELLMON is the Chief of Engineers

and Commanding General of the U.S. Army Corps of Engineers and has delegated

responsibilities of administering and implementing the Clean Water Act 404 program.

Defendant Spellmon is sued in his official capacity.

        70.     COLONEL ANDREW KELLYJAMES BOOTH, is District Commander for the

Jacksonville District of the U.S. Army Corps of Engineers and is an official responsible for

actions taken by the Corps, including the determination of the waters to be retained under the

Corps’ jurisdiction after state assumption. Defendant Kelly Booth is sued in his official capacity.

        71.     Defendants Spellmon, KellyBooth, and the Corps will collectively be referred to

as “the Corps.”

                                     LEGAL FRAMEWORK

Administrative Procedure Act

        72.     Pursuant to the Administrative Procedure Act (“APA”), a reviewing court must

“hold unlawful and set aside agency action, findings, and conclusions found to be” (1) “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law”; (2) “in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right”; (3) “without

observance of procedure required by law”; or (4) “unsupported by substantial evidence.” 5

U.S.C. § 706(2)(A), (C)–(E).

        73.     The APA grants a right of judicial review of final agency actions to any person

“suffering legal wrong because of agency action, or adversely affected or aggrieved by agency

action.” Id. § 702.



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       74.     The EPA’s approval of Florida’s 404 assumption application is unlawful and must

be set aside for: failing to provide an opportunity for notice and comment on a complete

program submission; approving a state program that is inconsistent with and violates federal law;

relying on unlawful, related actions by USFWS (biological opinion and incidental take

statement); NMFS (jurisdictional determination); the Corps (retained waters list); and making its

decision effective immediately upon publication in the Federal Register and without codification.

       75.     The actions by USFWS and the Corps on which the EPA relied are similarly

subject to judicial review under the APA and must be set aside.

The Clean Water Act

       76.     Before the EPA may consider a state 404 assumption application, the state must

submit a “full and complete” application including a description of the program it proposes to

establish and administer as well as a statement from the attorney general that the laws of the state

provide adequate authority to carry out the described program. 33 U.S.C. § 1344(g); 40 C.F.R.

§ 233.10.

       77.     A complete program description must include a description of (1) the scope and

structure of the state’s program, including the extent of the state’s jurisdiction and permit review

criteria; (2) the state’s permitting, administrative, judicial review, and other applicable

procedures; (3) the basic organization and structure of the state agencies which will administer

the program, specifically addressing the responsibilities of each agency; (4) the funding and

staffing available for program administration; (5) estimated anticipated workload; (6) permit

application forms, permit forms, and reporting forms; (7) the state’s compliance evaluation and

enforcement programs, including how the state will coordinate with the EPA and the Corps;

(8) the waters of the United States within a state over which the state assumes jurisdiction under



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the approved program; the waters of the United States within a State over which the Corps

retains jurisdiction subsequent to program approval; and a comparison of the State and Federal

definitions of wetlands; and (9) the specific best management practices proposed to satisfy

Section 404 exemptions for construction and maintenance of certain roads. 40 C.F.R. § 233.11.

       78.     A complete attorney general’s statement must demonstrate that the laws and

regulations of the state provide adequate authority to carry out the program and meet the

applicable requirements of the federal Section 404 program. Id. § 233.12(a). The statement

must cite authorities which are “lawfully adopted at the time the statement is signed and which

shall be fully effective by the time the program is approved, and, where appropriate, judicial

decisions which demonstrate adequate authority.” Id. Where more than one agency has

responsibility for administering the state program, the statement must certify that each agency

has full authority to administer the program within its category of jurisdiction. Id. § 233.12(d).

       79.     The submission of a state assumption application sets in motion a timeline for

EPA review. 33 U.S.C. § 1344(g)–(h). The statutory review period shall not begin until a

complete application is received by the EPA. 40 C.F.R. § 233.15(a).

       80.     The EPA must determine if an application is complete within 30 days, 40 C.F.R.

§ 233.15(a), and publish notice of the application and provide for a comment period of not less

than 45 days including a public hearing within the state, id. § 233.15(e)(1)–(2). The EPA must

determine whether to approve or deny the state’s application within 120 days after the date of the

receipt of a complete program application. 33 U.S.C. § 1344(h); 40 C.F.R. § 233.15(g). The

EPA must issue a summary of significant comments received and its response to these

comments. 40 C.F.R. § 233.15(g).




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       81.     To approve a state application, the EPA must determine whether the state has

“authority with respect to the issuance of permits pursuant to such program” to, among other

things: (1) issue permits “which apply, and assure compliance with” all Section 404

requirements, including Section 404(b)(1) Guidelines; (2) assure that the public “receive notice

of each application for a permit and to provide an opportunity for public hearing before a ruling

on each such application;” and (3) “abate violations of the permit or the permit program,

including civil and criminal penalties and other ways and means of enforcement.” 33 U.S.C.

§ 1344(h)(1)(A)(i), (1)(C), (1)(G).

       82.     The Section 404(b)(1) Guidelines prohibit, among other things, the issuance of

404 permits that would jeopardize the existence of ESA-listed species or result in the likelihood

of destroying or adversely modifying critical habitat identified under the ESA. 40 C.F.R.

§§ 230.10(b)(3), 233.11(a)–(c), 233.23.

The Endangered Species Act

       83.     Congress enacted the Endangered Species Act of 1973 (“ESA”) because human

activities had caused the extinction of many species and other species “[had] been so depleted in

numbers that they are in danger of or threatened with extinction.” 16 U.S.C. § 1531(a)(1)–(2).

All species listed as endangered or threatened by the Secretary of Interior are protected by the

ESA, which the Supreme Court has called “the most comprehensive legislation for the

preservation of endangered species ever enacted by any nation.” Tenn. Valley Auth. v. Hill, 437

U.S. 153, 180 (1978).

       84.     Recognizing the need to protect these species and to conserve their habitat,

Congress mandated that all federal departments and agencies seek to conserve endangered and

threatened species. 16 U.S.C. § 1531(c)(1).



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       85.     Section 7 of the ESA establishes a federal interagency consultation process to

assist agencies in complying with their duty to avoid jeopardy to listed species or destruction or

adverse modification of critical habitat. Under this process, a federal agency proposing an action

that “may affect” a listed species must prepare and provide to the appropriate expert agency a

description of the proposed action, its effects, and the relevant scientific evidence. 16 U.S.C. §

1536(a)(2); 50 C.F.R. § 402.14(a).

       86.     Section 7 of the ESA prohibits agency actions that may jeopardize the survival

and recovery of a listed species or adversely modify its critical habitat:

       Each federal agency shall, in consultation with and with the assistance of the
       Secretary, insure that any action authorized, funded, or carried out by such agency
       (hereinafter in this section referred to as an “agency action”) is not likely to
       jeopardize the continued existence of any endangered species or threatened species
       or result in the destruction or adverse modification of habitat of such species which
       is determined by the Secretary . . . to be critical . . . .

16 U.S.C. § 1536(a)(2).

       87.     “Action” is defined broadly to encompass “all activities or programs of any kind

authorized, funded, or carried out, in whole or in part, by Federal agencies.” 50 C.F.R. § 402.02.

An agency’s Section 7 obligations extend to ongoing actions over which the agency retains

authority or discretionary control.

       88.     For actions that may adversely affect a listed species or critical habitat, a formal

consultation with the Services is required. Id. § 402.14. At the conclusion of a formal

consultation, the Services issue a biological opinion assessing the effects of the action on the

species and its critical habitat, determining whether the action is likely to jeopardize the

continued existence of the species or adversely modify its critical habitat and, if so, offering a

reasonable and prudent alternative that will avoid jeopardy or adverse modification. 16 U.S.C. §

1536(b)(3)(A); 50 C.F.R. § 402.14(g)–(h).


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       89.     Federal agencies must ensure that such actions will not “result in the destruction

or adverse modification” of designated critical habitat. 16 U.S.C. § 1536(a)(2). Since critical

habitat must be designated outside of a species’ current inhabited range under certain

circumstances, the “adverse modification” analysis provides habitat protection even in situations

where the “jeopardy” analysis does not apply. See Cape Hatteras Access Pres. All. v. U.S. Dep’t

of Interior, 344 F. Supp. 2d 108, 131 (D.D.C. 2004); accord Sierra Club v. U.S. Fish and

Wildlife Serv., 245 F.3d 434, 441 (5th Cir. 2001).

       90.     Section 9 of the ESA prohibits “take” of endangered species by any person, which

includes private entities, along with state and federal agencies. 16 U.S.C. § 1538(a)(1). “Take”

means to “harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect.” Id. §

1532(19). The Services have defined “harm” to include “significant habitat modification or

degradation which actually kills or injures fish or wildlife by significantly impairing essential

behavioral patterns, including breeding, spawning, rearing, migrating, feeding or sheltering.” 50

C.F.R. § 222.102.

       91.     If a federal action undergoing consultation will take a listed species, the biological

opinion must include an “incidental take statement” that specifies the amount and extent of

incidental take of listed species that may occur without causing jeopardy or adverse modification

of critical habitat. 16 U.S.C. § 1536(b)(4); 50 C.F.R. § 402.14(i). The incidental take statement

provides a safe harbor, insulating from take liability activities undertaken in compliance with the

incidental take statement’s terms and conditions. 16 U.S.C. § 1536(o)(2). See Id.

§ 1536(b)(4)(C). An incidental take statement also serves as a check on the biological opinion’s

assumptions and conclusions and provides for monitoring. 50 C.F.R. § 402.14(i)(3). It must set

out a “trigger” that identifies an unacceptable level of take that invalidates the safe harbor and



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requires the agencies to immediately reinitiate consultation. Id. § 402.14(i)(4).

       92.     The ESA implementing regulations provide:

       Reinitiation of formal consultation is required and shall be requested by the Federal
       agency or by the Service, where discretionary Federal involvement or control over
       the action has been retained or is authorized by law and

       (a) If the amount or extent of taking specified in the incidental take statement is
       exceeded; [or]

       (b) If new information reveals effects of the action that may affect listed species or
       critical habitat in a manner or to an extent not previously considered . . . .

50 C.F.R. § 402.16 & (a)–(b). If either of these triggers occurs, both the action agency and the

expert fish and wildlife agency have a duty to request reinitiation of consultation. Id.

       93.     The Services’ regulations reiterate that even when undertaking a programmatic

consultation, the action agency is not relieved “of the requirements for considering the effects of

the action or actions as a whole.” 50 C.F.R. § 402.14(c)(4).

       94.     The “action area” to be examined by the Services encompasses “all areas to be

affected directly or indirectly by the federal action and not merely the immediate area involved

in the action.” Id. § 402.02 (emphasis added).

The Rivers and Harbors Act

       95.     A state 404 program cannot assert jurisdiction over navigable waters of the United

States. 33 U.S.C. § 1344(g)(1).

       96.     Navigable waters of the United States remain under the Corps’ exclusive control

pursuant to Section 10 of the Rivers and Harbors Act. 33 U.S.C. § 403. They include those

waters that are subject to the ebb and flow of the tide and/or are presently used, or have been

used in the past, or may be susceptible for use to transport interstate or foreign commerce. 33

C.F.R. § 329.4.


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       97.     The Corps’ exclusive jurisdiction also “extend[s] laterally to the entire water

surface and bed of a navigable waterbody, which includes all the land and waters below the

ordinary high water mark.” Id. § 329.11(a).

       98.     Precise definitions of “navigable waters of the United States” or “navigability”

are ultimately dependent on judicial interpretation and cannot be made conclusively by

administrative agencies. Id. § 329.3.

       99.     The Corps’ determination of navigable waters is made by the division engineer in

a report of findings based on criteria set out in the Corps’ regulations. Id. § 329.14(b). These

reports must be reviewed by district counsel before the division engineer issues a final

determination. Id.

       100.    Each report must include findings on (1) the name of the waterbody, (2) the river

it feeds; (3) its physical characteristics (including the water type, length, approximate discharge

volume, fall per mile, extent of tidal influence, range between high and ordinary low water, and

improvements to navigation), (4) the nature and location of significant obstructions to navigation

or its capability to be used in interstate commerce, (5) authorized projects (including a list of

known survey documents or reports describing the waterbody), (6) past or present interstate

commerce, (7) the potential use for interstate commerce, (8) the nature of jurisdiction that has

been exercised by federal agencies, (9) state or federal court decisions relating to navigability of

the waterbody, and (10) the Corps’ finding regarding navigability. Id. § 329.14(c).

       101.    Each district of the Corps is required to maintain a tabulated list of final

determinations of navigability, and to update these lists “as necessitated by court decisions,

jurisdictional inquiries, or other changed conditions.” Id. § 329.16(a).




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       102.    Since the district’s list “represent[s] only those waterbodies for which

determinations have been made[,] absence from that list should not be taken as an indication that

the waterbody is not navigable.” Id. § 329.16(b).

       103.    “Deletions from the list are not authorized” and “changes are not considered final

until a determination has been made by the division engineer” following updated findings. Id.

§ 329.16(c).

                                  FIRST CLAIM FOR RELIEF

  EPA’S INTERLOCUTORY COMPLETENESS DETERMINATION VIOLATES THE
         CLEAN WATER ACT AND ADMINISTRATIVE PROCEDURE ACT

       104.    Plaintiffs adopt and incorporate by reference paragraphs 1–103 of this Complaint.

       105.    The APA’s rulemaking procedures and Clean Water Act regulations require that

the public be given notice and an opportunity to comment on a state 404 assumption application.

5 U.S.C. § 553; 40 C.F.R. § 233.15(e)(1)–(2).

       106.    Pursuant to the APA, “rule” means “the whole or a part of an agency statement of

general or particular applicability and future effect designed to implement, interpret, or prescribe

law or policy or describing the organization, procedure, or practice requirements of an agency

and includes the approval or prescription for the future of rates, wages, corporate or financial

structures or reorganizations thereof, prices, facilities, appliances, services or allowances therefor

or of valuations, costs, or accounting, or practices bearing on any of the foregoing.” 5 U.S.C.

§ 551(4). A “rule making” is the “agency process for formulating, amending, or repealing a

rule.” Id. § 551(5).

       107.    The EPA’s decision to approve the transfer of section 404 jurisdiction from the

Corps to a state is a rulemaking that must comply with the rulemaking procedures defined by

Section 553 of the APA.


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       108.    The state application was not complete when received by the EPA because it

relied on a USFWS programmatic biological opinion that was not in existence at the time of

submission and which would later result from the EPA’s formal consultation with USFWS—a

process that had not even begun when the application was submitted—to demonstrate that its

program would ensure no jeopardy to listed species.

       109.    USFWS’ programmatic biological opinion and incidental take statement were

submitted to the EPA on November 19, 2020, more than two weeks after the close of the public

comment period. Neither was made available to the public for review and comment.

       110.    The state application was also not complete because it failed to adequately

identify the waters that would be assumed under its proposed program as required by the EPA

regulations dictating the contents of an assumption application. 40 C.F.R. § 233.11(h) (requiring

assumption applications to include “[a] description” of the waters of the United States to be

assumed by the state and to be retained by the Corps).

       111.    Rather than provide this information, the state application included an

unauthorized, truncated list of retained waters prepared by the Corps.

       112.    Without complete information, members of the public were unable to fully

evaluate and comment on the impact the EPA’s approval would have on waters that are of

ecological, historical, cultural, and economic benefit to the public.

       113.    Finally, the state application failed to identify any funding for the implementation,

operation, and enforcement of a state-level 404 program, as it claimed that no additional

resources would be required and it did not identify legislative authorization for the re-purposing

of funds. See 40 C.F.R. § 233.11(d) (program description must include “[a] description of the

funding and manpower which will be available for program administration” (emphasis added)).



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       114.    The EPA’s determination that Florida’s application was complete as of its

submission on August 20, 2020, was arbitrary, capricious, an abuse of discretion, not in

accordance with the law, unsupported by substantial evidence and otherwise in violation of the

Clean Water Act and APA. 5 U.S.C. § 706(2); 33 U.S.C. § 1344; 40 C.F.R. § 233.15.

       115.    The EPA’s closure of the comment period before elements of the state’s

application were completed was arbitrary, capricious, an abuse of discretion, not in accordance

with the law, unsupported by substantial evidence, and otherwise in violation of the Clean Water

Act and APA. 5 U.S.C. § 706(2); 33 U.S.C. § 1344(g); 40 C.F.R. § 233.10, 233.15(e)(1)–(2).

       116.    The EPA’s unlawful completeness determination precluded meaningful testing,

denied fairness to affected parties, and precluded the opportunity to develop evidence in the

record necessary for judicial review. See Small Refiner Lead Phase-Down Task Force v. U.S.

Envtl. Prot. Agency, 705 F.2d 506, 547 (D.C. Cir. 1983) (stating public notice requirements

under the APA are intended to provide these opportunities).

       117.    The EPA’s actions and omissions have harmed the Plaintiffs and leave them

without any adequate remedy at law.

                               SECOND CLAIM FOR RELIEF

   EPA’S APPROVAL OF FLORIDA’S ASSUMPTION PROGRAM VIOLATES THE
        CLEAN WATER ACT AND ADMINISTRATIVE PROCEDURE ACT

       118.    Plaintiffs adopt and incorporate by reference paragraphs 1–117 of this Complaint.

       119.    The Clean Water Act requires the EPA to determine whether a state seeking to

administer the 404 program has demonstrated that it has authority to, among other things: issue

permits that apply, and assure compliance with, the requirements of Section 404, including the

404(b)(1) Guidelines; assure that the public will have notice and an opportunity for hearing on

every application; and abate violations of any permit and the permit program via civil and


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criminal enforcement. 33 U.S.C. § 1344(h)(1); see also 33 U.S.C. § 1344(g)(1); 40 C.F.R.

§ 233.12. The EPA may only approve a state program if it meets these criteria. 33 U.S.C.

§ 1344(h)(2)(A).

       120.    The EPA acted unlawfully in approving the state’s application as its program did

not meet the criteria in many regards, including, but not limited to, those identified below.

       121.    As to general permits, Section 404 authorizes the Corps to issue general permits

for a duration of five years after the permitting entity determines that the regulated activities will

cause only minimal adverse environmental effects when performed separately and will have only

minimal cumulative adverse effects on the environment. The analysis underlying the issuance of

general permits must be re-evaluated before a general permit can be renewed.

       122.    The state program violates federal law by purporting to issue scores of general

permits without the state permitting authority having made the requisite determinations regarding

environmental impact, 40 C.F.R. § 233.21(b), id. § 233.2 (defining director as state agency),

relying instead on the Corps’ prior determinations.

       123.    The state program violates federal law by authorizing these general permits for a

duration of five years from the date of EPA approval of the program, unlawfully extending the

general permits issued initially by the Corps beyond their statutorily limited five-year duration.

33 U.S.C. § 1344(e)(2).

       124.    As to emergency permits, the state program unlawfully expands the circumstances

under which emergency permits—those that do not follow the ordinary requirements of Section

404—may issue, in contravention of 40 C.F.R. § 233.22(a).

       125.    As to permit conditions, the state program omits important requirements,

including the requirement to “minimize” discharges in violation of a permit, Id. § 233.23(c)(4),



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certain monitoring and reporting requirements, id. § 233.23(c)(7), the requirement that

discharges minimize adverse impacts through restoration, in addition to mitigation, id.

§ 233.23(c)(9), and the requirement of specifically identifying and completely describing the

authorized activity, id. § 233.23(c)(1).

        126.    As to the permit application process, the state does not require the same level of

detailed information as is required under federal law, id. § 233.30(d), and uses different terms

that change the information that must be provided, contrary to id. § 233.30(b)(3).

        127.    The federal rules require that permits “shall be coordinated with federal and

federal-state water related planning and review processes.” Id. § 233.3. The state program,

however, does not include this requirement and conceded that it “did not add this [requirement]

to the rule.”

        128.    As to public notice, the state program does not require that the state provide

public notice on receipt of a 404 permit application, in contravention of federal law, which does.

Id. § 233.32(a)(1).

        129.    As to definitions, the state program does not adopt all definitions in the 404(b)(1)

Guidelines, omits definitions of several terms defined under federal law, and adopts more

restrictive definitions for certain, critical terms (including “pollution”). Compare id. § 230.3(k)

with Fla. Stat. § 403.031(7).

        130.    Federal regulations require that a state “shall maintain a program designed to

identify persons subject to regulation who have failed to obtain a permit or to comply with

permit conditions.” 40 C.F.R. § 233.40(a). The state’s application failed to demonstrate that it

has, much less maintains, any such a program.




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       131.    As to general procedures for determining the applicability of permit conditions

relating to the contamination of dredge and fill material, the state restricted the broad federal

duty to “determine the possibility of chemical contamination or physical incompatibility of the

material to be discharged,” id. § 230.5, to only situations where that contamination may violate

state water quality standards or toxic effluent standards or prohibitions.

       132.    As to general permits, id. § 230.7, the state failed to include the 404(b)(1)

Guidelines’ requirement that a general permit may only be issued if “[t]he activities in such

category are similar in nature and similar in their impact upon water quality and in the aquatic

environment.” The state also failed to incorporate the 404(b)(1) Guidelines’ requirements

governing the process for issuing general permits.

       133.    As to restrictions on discharge, id. § 230.10, the state program creates a wholesale

exception for temporary violations of state water quality standards that is not present under

federal law.

       134.    As to impacts, the state program fails to incorporate the requirement that a

determination of whether a discharge would cause or contribute to significant degradation of

wetlands or other surface waters be based on factual determinations, evaluations, and tests

required by the 404(b)(1) Guidelines “subparts B and G, after consideration of subparts C

through F, with special emphasis on the persistence and permanence of the effects outlined in

those subparts.” Id. § 230.10(c).

       135.    As to factual determinations, id. § 230.11, the 404(b)(1) Guidelines lay out

specific, factual determinations that permitting authorities must use to determine the individual,

cumulative, and secondary effects of a proposed discharge of dredged or fill material on physical

substrate; water circulation, fluctuation, and salinity; suspended particulate/turbidity;



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contaminants; aquatic ecosystem and organism; and the proposed disposal site. The state

program does not incorporate or apply the guideline’s defined set of factual determinations, and

it does not require these factual determinations when considering whether to issue a 404 permit.

       136.    As to findings of compliance or noncompliance with the restrictions on discharge,

id. § 230.12, the 404(b)(1) Guidelines require that the permitting authority, after deciding

whether to issue or deny a permit, must make findings that “include the factual determinations

required by § 230.11, and a brief explanation of any adaptation of these Guidelines to the activity

under consideration.” Id. § 230.12(b).

       137.    The state regulations do not require the agency to make the factual determinations

laid out in id. § 230.11, and therefore do not require that the agency include those factual

determinations in any final permit decisions.

       138.    The state application also failed to demonstrate adequate criminal enforcement

authority. 33 U.S.C. § 1344(g)(1)(G). State law requires a greater degree of intent or knowledge

to establish a criminal violation of Section 404 and provides a shorter statute of limitations as

compared to federal law for holding criminal violators accountable. 33 U.S.C. §§ 1319(c)(1)(A),

(B), 1365(a), (g); 18 U.S.C. § 3282; 28 U.S.C. § 2462; 40 C.F.R. § 233.41(a)(3)(ii). See United

States v. Maury, 695 F.3d 227, 259 (3d Cir. 2012); United States v. Pruett, 681 F.3d 232, 243

(5th Cir. 2012); United States v. Ortiz, 427 F.3d 1278, 1283 (10th Cir. 2005); United States v.

Hanousek, 176 F.3d 1116, 1120 (9th Cir. 1999).

       139.    The state program failed to adopt or incorporate the wide range of impacts that

must be considered under the 404(b)(1) Guidelines when reviewing a permit, other than for

aesthetics. 40 C.F.R. §§ 230.20–25 (Subpart C); id. §§ 230.30–32 (Subpart D); id. §§ 230.40–45

(Subpart E); id. §§ 230.50–54 (Subpart F). But see id. § 230.53 (aesthetics).



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       140.    The state program failed to adopt or incorporate the 404(b)(1) Guidelines

pertaining to compensatory mitigation for loss of wetlands.

       141.    The state program failed to define a whole host of terms used in the federal

program, id. § 230.92, and uses definitions of comparable terms that conflict with or undermine

the substance of the federal definition (for example the state definition of wetlands “creation”

does not require “a gain in aquatic resource area and functions,” whereas the federal definition of

wetlands “establishment” does).

       142.    As to general compensatory mitigation requirements, id. § 230.93, the state alters

or omits vital portions of this Guideline, thereby creating less stringent requirements for its

mitigation program. For example, the state program weakens the “watershed approach”

described in the 404(b)(1) Guidelines, which is necessary to ensuring that the aquatic resources

provided through compensation activities will effectively compensate for adverse environmental

impacts resulting from activities authorized by dredge and fill permits. Id. § 230.93(c)(4). The

state program ignores the federal requirements pertaining to site selection for mitigation, id.

§ 230.93(d)(vi), which are essential to ensuring the mitigation is appropriate and effective.

       143.    The state program does not include federal requirements that permit writers

document certain findings pertaining to mitigation, id. § 230.93(e)(2)–(3), and omits the

requirement that the permit writer “require a mitigation ratio greater than one-to-one where

necessary.” Id. § 230.93(f)(2).

       144.    As to the decision-making process for a permit application, federal rules require

that a permit be reviewed for compliance with the 404(b)(1) Guidelines. Id. § 233.34.

       145.    The state program has not adopted or incorporated these guidelines.




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        146.    As to compliance evaluation programs, federal rules require a state to “maintain a

program designed to identify persons subject to regulation who have failed to obtain a permit or

to comply with permit conditions.” Id. § 233.40(a).

        147.    The state does not maintain a program to identify violations of its current

wetlands programs and has not shown it is capable to do so for an assumed 404 program.

        148.    State law also does not provide comparable access to the courts for purposes of

enforcement and redress as available under federal law. This deprives affected parties of the

ability to vindicate rights and ensure citizen enforcement of Section 404.

        149.    Whereas federal law authorizes any aggrieved party to litigate Section 404 claims,

Florida allows only citizens of the state to compel government enforcement of environmental

laws, to bring suit against a person or non-governmental entity to enforce environmental laws, to

initiate administrative proceedings in federally delegated programs, and to intervene in

enforcement proceedings.

        150.    State law also severely limits the ability to establish associational standing.

Whereas federal law authorizes associational standing based on a single member’s injury in fact,

Am. Clinical Lab. Ass’n v. Azar, 931 F.3d 1195, 1203 (D.C. Cir. 2019), Florida law requires

organizations to demonstrate that a “substantial number” of their members “are substantially

affected” by the challenged conduct.

        151.    For purposes of enforcement and redress, state law further conflicts with federal

law by creating a mandatory fee-shifting provision that has no analog under the Clean Water Act

and discourages or precludes under-resourced individuals and organizations from seeking to

vindicate their rights.




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          152.   State 404 permitting programs must ensure that the state agency will not issue any

permit that fails to comply with the requirements of the Clean Water Act and its implementing

regulations, including the 404(b)(1) Guidelines. See 40 C.F.R. § 233.20.

          153.   The state program fails to adopt or incorporate by reference all 404(b)(1)

Guidelines.

          154.   Specifically, the state program fails to satisfy the 404(b)(1) Guidelines

requirement to ensure there will be no jeopardy to listed species prior to the issuance of permits

for the discharge of dredged or fill material pursuant to the Clean Water Act Guidelines. Id. §§

233.15(g), 230.10(b)(3).

          155.   The state did not demonstrate that its Department of Environmental Protection has

the authority to regulate species under state law that it now claims it would exercise in a state-

assumed program.

          156.   The state’s application failed to provide the necessary statement regarding the

State’s takings law. Id. § 233.12(c). Instead, the state relied on the limited and universally

applicable chance that a takings case may be reviewed by the Supreme Court of the United

States.

          157.   The state’s application summarily asserted that it could rely on existing resources

to administer and enforce a 404 program while failing to disclose, among other things: (1) the

state agency’s failure to meet existing regulatory obligations; (2) the significant budget cuts

brought on by the global pandemic; and (3) the resource status and needs of other state agencies

which the state intends to rely on to fulfill obligations under the Clean Water Act. Id. §§

233.1(a), 233.11.




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       158.    The state also did not demonstrate that it had the legal authority to re-purpose

current funding for a new federal program.

       159.    The state program did not fully address or disclose all costs that will necessarily

be associated with administering a state-level 404 program, including: (1) initial resources

needed to process all pending (160) applications at the time of assumption; (2) resource needs

and costs required for compliance and enforcement of the pending applications that are

approved; (3) sufficient staffing; (4) an adequate audit process; (5) costs associated with

reissuing general permits; (6) the large area of permits where the claimed “85%” overlap of work

with the state wetlands program will not be achieved; and (7) several costs associated with

implementation.

       160.    For these, and other reasons, the EPA’s approval of the state’s application was

arbitrary, capricious, an abuse of discretion, not in accordance with the law, unsupported by

substantial evidence, and otherwise in violation of the Clean Water Act, 33 U.S.C. § 1344, and

APA, 5 U.S.C. § 706(2).

       161.    The EPA’s actions and omissions have harmed and will harm the Plaintiffs and

leave them without any adequate remedy at law.

                                 THIRD CLAIM FOR RELIEF

     USFWS’ BIOLOGICAL OPINION AND “NO JEOPARDY” DETERMINATION
               VIOLATE THE ENDANGERED SPECIES ACT AND
                   ADMINISTRATIVE PROCEDURE ACT

       162.    Plaintiffs adopt and incorporate by reference paragraphs 1–161 of this Complaint.

       163.    Section 7 of the ESA requires that a biological opinion “detail[] how the agency

action affects the species or its critical habitat.” 16 U.S.C. § 1536(b)(3)(A).

       164.    In this case, the “agency action” for Section 7 of the ESA was EPA’s

consideration of the state 404 program. The ESA therefore required USFWS to make the
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relevant determinations regarding the impact of the EPA’s approval of the program. The ESA’s

implementing regulations specify that a biological opinion must include: “[a] detailed discussion

of the environmental baseline of the listed species and critical habitat [and] [a] detailed

discussion of the effects of the action on listed species or critical habitat.” 50 C.F.R.

§ 402.14(h)(1)(ii), (iii).

        165.    These requirements apply to the issuance of programmatic biological opinions.

50 C.F.R. § 402.14(c)(4). USFWS’ biological opinion concluded that approval of the state

program would result in “no jeopardy.”

        166.    USFWS stated that its jeopardy analysis relied on: (1) the status of the species;

(2) the environmental baseline, which analyzes the condition of the listed species in the action

area, without the consequences to the listed species caused by the proposed action; (3) the effects

of the action, which includes all consequences to listed species that are caused by the proposed

action, including the consequences of other activities that are caused by the proposed action; and

(4) the cumulative effects, which evaluates the effects of future, non-Federal activities in the

action area on the species. 16 U.S.C. § 1536(b)(4)(C)(i); 50 C.F.R. § 402.14(g).

        167.    In the biological opinion, however, USFWS relied on the biological evaluation

submitted by the EPA, which was virtually identical to the biological assessment provided by the

state to the EPA in support of its application.

        168.    In the biological evaluation, the EPA found the proposed assumption is “likely to

adversely affect” 1643 species under USFWS’s jurisdiction, is “not likely to adversely affect” 9

species, and would have “no effect” on 60 species.

        169.    The EPA’s conclusions were inconsistent and incomplete. For example, the EPA

found the action would have “no effect” on shortnose sturgeon, Gulf sturgeon, or Atlantic



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sturgeon, despite also stating that “the action could result in a [likely to adversely affect]

determination” for shortnose sturgeon and that critical habitat for Gulf sturgeon is designated in

several Florida rivers.

       170.      USFWS’ biological opinion also failed to provide a detailed discussion of the

environmental baseline and failed to provide a detailed discussion of the effects of the action.

       171.      Rather than provide the requisite detailed discussion of the environmental

baseline, USFWS’ biological opinion incorporated by reference the EPA’s biological evaluation.

       172.      The biological evaluation in turn does not provide a detailed discussion of the

environmental baseline as affects listed species and critical habitats, 50 C.F.R. § 402.02. Instead,

the biological opinion merely includes a chart listing previous 404 permits that involved ESA

consultations.

       173.      Instead of a detailed discussion of effects on each of the listed species and critical

habitats that may result from the EPA’s approval of the state program, USFWS’ biological

opinion—again incorporating the EPA’s biological evaluation, which mimics the state’s

biological assessment—provides only a cursory overview of the harms to species and habitat

from general environmental degradation.

       174.      The biological evaluation noted that critical habitat is designated for nearly 40

potentially affected species but did not map where critical habitat may exist within the action

area or make any effects determinations for critical habitats.

       175.      USFWS’ biological opinion did not lawfully conduct a jeopardy analysis as to any

species or critical habitat. 16 U.S.C. § 1536(a)(2), (b).




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       176.    USFWS’ reliance on this insufficient biological evaluation to make

determinations required under the ESA was arbitrary and capricious and otherwise not in

accordance with the law.

       177.    USFWS further improperly relied on its memorandum of understanding with the

state in making its no jeopardy determination. The memorandum of understanding establishes a

process regarding individual permit decisions, not an assessment of whether the federal action

for consultation purposes—the EPA’s approval of the state’s 404 assumption—may jeopardize

listed species or adversely modify critical habitat, which requires assessment of the proposed

program as a whole.

       178.    Likewise, USFWS’ consideration of the likelihood of jeopardy or adverse

modification from the issuance of individual permits does not assess the likelihood of jeopardy

or adverse modification from the entire action under consultation—assumed authority for all

dredge and fill permits.

       179.    USFWS’ failures to analyze the status of the species, environmental baseline,

effects of the action and cumulative effects violate the ESA, 16 U.S.C. § 1536, and APA, 5

U.S.C. § 706(2)(A), and render its “no jeopardy” determination unlawful.

                               FOURTH CLAIM FOR RELIEF

     USFWS’ BIOLOGICAL OPINION AND “INCIDENTAL TAKE STATEMENT”
               VIOLATE THE ENDANGERED SPECIES ACT AND
                   ADMINISTRATIVE PROCEDURE ACT

       180.    Plaintiffs adopt and incorporate by reference paragraphs 1–179 of this Complaint.

       181.    The ESA prohibits any person from “taking” an endangered species. 16 U.S.C. §

1538(a)(1)(B). Under Section 4(d), 16 U.S.C. § 1533(d), USFWS has the authority to issue

regulations extending the take prohibition to threatened species.



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       182.      The take prohibition applies to “any person.” 16 U.S.C. § 1538(a)(1). The ESA

defines “any person” to include “any officer, employee, agent, department, or instrumentality of

the Federal Government.” 16 U.S.C. § 1532(13). The ESA citizen suit provision authorizes

suits to enforce the ESA and its implementing regulations against any person, including federal

agencies. Id. § 1540(g)(1).

       183.      The EPA, the director of a state-assumed program, and permittees are persons

subject to the ESA take prohibition and to ESA citizen suits.

       184.      The ESA defines “take” to include “harm.” Id. § 1532(19).

       185.      If a federal action undergoing consultation will take a listed species, the biological

opinion must include an “incidental take statement” that specifies the amount and extent of

incidental take of the listed species that may occur without causing jeopardy or adverse

modification, includes “terms and conditions,” and provides for monitoring of take. 16 U.S.C. §

1536(b)(4); 50 C.F.R. § 402.14(i)(1)–(3). Incidental take must be incidental and not the purpose

of the action. The incidental take statement insulates from take liability activities undertaken in

compliance with its terms and conditions. 16 U.S.C. § 1536(o)(2). See 16 U.S.C. §

1536(b)(4)(C).

       186.      An incidental take statement serves as a check on the biological opinion’s

assumptions and conclusions. It must set out a “trigger” that specifies an unacceptable level of

take that invalidates the safe harbor and requires the agencies to immediately reinitiate

consultation. 50 C.F.R. §§ 402.14(i)(4), 402.16(a).

       187.      USFWS’ biological opinion fails to specify the amount or extent of incidental

take, fails to impose a limit on incidental take, and fails to specify a take-based trigger for

reinitiating consultation, all in violation of the ESA.



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       188.    USFWS’ failures precluded the agency from lawful authority to issue an

incidental take statement purporting to extend incidental take coverage to the EPA, the state, and

state permittees.

       189.    USFWS’ incidental take statement purports to provide permittees conditional take

coverage so long as they comply with all permit conditions imposed by the state agency, as

recommended by USFWS. The nature and adequacy of such conditions is not known because

there are no standards or sideboards governing them. Accordingly, USFWS lacks a reasoned

basis for determining the permits and permittee actions in compliance with them will not result

in an unacceptable amount of take.

       190.    The biological opinion’s incidental take statement does not impose a measurable

limit on allowable take. See 50 C.F.R. 402.14(i)(1)(i). It indicates that USFWS does not know

which species will be taken, the locations of take, or the number of individual members of listed

species that will be harmed, killed, or otherwise taken as a result of state permits authorizing the

discharge of dredged and fill material in waters of the United States.

       191.    The Services can use a surrogate to establish a take limit, provided the surrogate

is an accurate and credible measure of harm to the listed species.

       192.    The biological opinion provides no surrogate measure for the number of

individual listed species that can be taken under the delegation without upending the biological

opinion’s assumptions and no-jeopardy determinations. It therefore fails to provide a limit on

take as required by the ESA and the ESA regulations and no measurable trigger for reinitiation of

consultation or elimination of the safe harbor.

       193.    The incidental take statement incorporates into its take limit compliance with the

process set out in the memorandum of understanding. In other words, the take limit is the same



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as implementation of the action undergoing consultation. It is the proposed action, rather than a

separate limit and check on the biological opinion’s no-jeopardy conclusions.

       194.    USFWS acted arbitrarily, capriciously, and contrary to the ESA, in violation of

the APA, 5 U.S.C. § 706(2), in setting the take limit at the level that coincides with full

implementation of the action undergoing consultation.

       195.    The incidental take statement relies on a future process to minimize take, but that

process lacks sideboards to ensure that the take that will not cause jeopardy or be at odds with

the biological opinion’s assumptions and conclusions. It provides the EPA take coverage once

the delegation is approved without requiring the EPA to implement USFWS’ take minimization

measures. As to the EPA, it thereby establishes no limit on the allowable amount of take that the

delegation will cause.

       196.    The terms and conditions of the incidental take statement require the state to

implement all USFWS recommendations to avoid and minimize impacts to listed species and to

deny a permit if USFWS makes a jeopardy call. Neither the biological opinion nor the

memorandum of understanding imposes any sideboards to ensure USFWS will make the

necessary recommendations to avoid and minimize those impacts. It was therefore arbitrary and

capricious for the agency to claim that those documents are enough to avoid take.

       197.    To the extent that the biological opinion and incidental take statement rely on

future jeopardy determinations that USFWS may make in its review of individual permits, the

biological opinion is abdicating its responsibility to determine whether the delegation is likely to

cause jeopardy and punting to future jeopardy determinations on different proposed actions –

individual permits versus the delegation of authority over all future permits throughout the entire

state and for the indefinite future. In addition, this abdication of responsibility is replacing the



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required Section 7 consultation at the programmatic level for an unauthorized and less protective

“technical assistance” review laid out in the biological opinion at the permit-level.

       198.    The incidental take statement fails to include any method for recording or

monitoring incidental take or to consider the cumulative impact of individual permit decisions.

       199.    The incidental take statement relies on an unlawful scheme for purportedly

conducting ESA review at the permit level for purposes of take liability coverage for the state

and permittees. The ESA creates two paths for extending take liability coverage, Section 7

(consultation for federal actions) and Section 10 (incidental take permits). 16 U.S.C. §§

1536(a)(2), 1539(a)(1)(B). Neither authorizes the scheme that USFWS created and relies upon

in the incidental take statement.

       200.    USFWS’ actions and omissions are arbitrary, capricious, an abuse of discretion,

and not in accordance with the law, in violation of the ESA, 16 U.S.C. § 1536, and APA, 5

U.S.C. § 706(2)(A).

       201.    USFWS’ actions and omissions have harmed and—unless enjoined—will harm

the Plaintiffs and leave them without any adequate remedy at law.

                                    FIFTH CLAIM FOR RELIEF

              EPA’S “NO EFFECT” DETERMINATION VIOLATES
       THE CLEAN WATER ACT AND ADMINISTRATIVE PROCEDURE ACT

       202.    Plaintiffs adopt and incorporate by reference paragraphs 1–201 of this Complaint.

       203.    On April 15, 2020, NMFS unlawfully concluded that there were no species under

its exclusive jurisdiction in assumable waters. On its face, NMFS’ determination failed to

consider, much less analyze, all areas that would be affected by Florida’s program directly or

indirectly, as required under federal law. See 16 U.S.C. 1536(a)(2); 50 C.F.R. § 402.02.




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       204.    On August 28, 2020, the EPA determined that consideration of a state 404

program was a discretionary action subject to compliance with the ESA, thereby triggering a

duty to consult with USFWS and NMFS.

       205.    On September 2, 2020, the EPA initiated formal consultation with USFWS, and

transmitted its “ESA Biological Evaluation for Clean Water Act Section 404 Assumption by the

State of Florida” (dated August 2020) to USFWS.

       206.    In the biological evaluation, the EPA concluded that Florida’s application would

have “no effect” on NFMS jurisdictional species, based solely on the rationale in NMFS’ April

15, 2020 letter.

       207.    On September 2, 2020, EPA also sent a letter to NMFS confirming there were no

changes to the previous species list reviewed by NMFS in April and, relying on NMFS April 15

jurisdictional determination, concluded the state’s assumption would have no effect on NMFS’s

jurisdictional species.

       208.    On September 3, 2020, NMFS sent a letter to EPA stating that they concurred with

the “no effect” determination in EPA’s September 2, 2020 letter.

       209.    On October 30, 2020, NMFS in an email to EPA again concurred with EPA’s “no

effect” determination.

       210.    These determinations were all based on NMFS’ conclusion that jurisdictional

species would not be within assumed waters.

       211.    The EPA’s actions and omissions were arbitrary, capricious, an abuse of

discretion, not in accordance with the law, unsupported by substantial evidence, and otherwise in

violation of the Clean Water Act and APA. 5 U.S.C. § 706(2); 33 U.S.C. § 1344(h)(1)(A)(i); 40

C.F.R. §§ 230.10(b)(3), 233.11(a)–(c), 233.23(a).



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       212.    The EPA’s actions and omissions have harmed and—unless enjoined—will harm

the Plaintiffs and leave them without any adequate remedy at law.

                                  SIXTH CLAIM OF RELIEF

                     USFWS’ UNLAWFUL SCHEME VIOLATES THE
                        ADMINISTRATIVE PROCEDURE ACT

       213.    Plaintiffs adopt and incorporate by reference paragraphs 1–212 of this Complaint.

       214.    USFWS’ incidental take statement, biological opinion, and memorandum of

understanding create an ESA scheme that is not authorized by law.

       215.    No provision of the ESA authorizes the scheme created by USFWS in the

biological opinion, incidental take statement, and memorandum of understanding to give the

state a workaround regarding the mechanisms that Congress provided for establishing take

limits, extending liability coverage, and determining jeopardy to species.

       216.    Section 7 authorizes federal agencies to consult with USFWS. 16 U.S.C. § 1536.

Pursuant to that process, USFWS can issue a biological opinion, establish take limits, and

provide an incidental take statement that extends protection from ESA liability. Id. § 1536(b)(c).

       217.    USFWS’ scheme in this case attempts to replicate that process with a state

agency. However, that is not authorized by the statute or regulations.

       218.    Section 10 of the ESA creates a process for non-federal entities, like the state, to

obtain permits that would relieve liability for the taking of listed species done incidental to an

otherwise lawful activity. 16 U.S.C. § 1539(a)(1)(B). Pursuant to that process, the applicant

completes a conservation plan and submits it to USFWS. Id. § 1539(a)(2)(A). After review of

the habitat conservation plan and public comments of the plan, USFWS may issue a permit

including such terms and conditions as necessary or appropriate to carry out the purposes of the

ESA. Id. § 1539(a)(2)(B).


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       219.    USFWS did not act pursuant to Section 10 when establishing its scheme.

       220.    USFWS’ actions and omissions were arbitrary, capricious, an abuse of discretion,

not in accordance with the law, unsupported by substantial evidence, in excess of statutory

jurisdiction and authority, short of statutory right, and otherwise in violation of the APA, 5

U.S.C. § 706(2).

       221.    USFWS’ actions and omissions have harmed and—unless enjoined—will harm

the Plaintiffs and leave them without any adequate remedy at law.

                               SEVENTH CLAIM FOR RELIEF

  CORPS’ RETAINED WATERS DETERMINATION VIOLATES THE RIVERS AND
       HARBORS ACT AND THE ADMINISTRATIVE PROCEDURE ACT

       222.    Plaintiffs adopt and incorporate by reference paragraphs 1–221 of this Complaint.

       223.    The Corps cannot delete identified navigable waters from its retained waters list

until a determination has been made by the division engineer following the procedures and

relying on the findings identified by the Corps’ regulations. 33 C.F.R. § 329.14, 16.

       224.    In conjunction with the state application, the Corps drastically reduced its retained

waters list from 17 to 4 pages long.

       225.    The Corps has not provided the public with a justification for its decision to

substantially reduce the list of retained waters.

       226.    The Corps’ actions and omissions were arbitrary, capricious, an abuse of

discretion, not in accordance with the law, unsupported by substantial evidence, and otherwise in

violation of the APA, 5 U.S.C. § 706(2).

       227.    The Corps’ actions and omissions have harmed and—unless enjoined—will harm

the Plaintiffs and leave them without any adequate remedy at law.




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                                EIGHTH CLAIM FOR RELIEF

                 EPA’S IMMEDIATE EFFECTIVE DATE VIOLATES THE
                         ADMINISTRATIVE PROCEDURE ACT

       228.    Plaintiffs adopt and incorporate by reference paragraphs 1–227 of this Complaint.

       229.    Pursuant to the APA, “[t]he required publication or service of a substantive rule

shall be made not less than 30 days before its effective date.” 5 U.S.C. § 553(d). The only

exceptions to this rule occur when a rule is: (1) a substantive rule that “grants or recognizes an

exemption or relieves a restriction”; (2) an interpretive rule or statement of policy; or (3) “the

agency otherwise provides for good cause found and published with the rule.” 5 U.S.C.

§ 553(d)(1)–(3).

       230.    The EPA’s approval of a state program constitutes a substantive rule that is

subject to the requirements of APA Section 553. 5 U.S.C. §§ 551(4)–(5), 553.

       231.    The EPA acted pursuant to delegated authority under the Clean Water Act to

approve the state’s assumption of jurisdiction over the federal 404 program. 33 U.S.C. § 1344.

       232.    As required for a rule of general applicability and legal effect, the EPA indicated

that approval of the Florida 404 program would be codified at 40 C.F.R. 233 subpart H. 85 Fed.

Reg. 57,853, 57,855 (Sept. 16, 2020). The agency unlawfully failed to codify the program.

       233.    The EPA’s decision has a substantive legal effect by (1) requiring public citizens

to follow a new legal process under a new set of laws, regulations, and guidance, (2) delegates

decision-making authority from the federal government to a state; (3) requires compliance with a

different set of laws; (4) transfers enforcement authority from the federal government to a state

operating under a different set of laws in state courts rather than federal courts; (5) requires

permit applicants to fill out and submit different permit application forms to be submitted to a

different permit-issuing entity; (6) strips the Corps of jurisdiction over the federal 404 program;


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(7) removes citizens’ NEPA rights; (8) restricts citizens’ access to the courts; and (9) deprives

Tribes’ of their right to consult with the federal government—which bears trust obligations to the

Tribes—when 404 permits would affect their natural, cultural, and historical resources.

       234.    The rule does not grant or recognize an exception or relieve a restriction.

       235.    Nor does the rule constitute an interpretation or statement of policy.

       236.    The EPA provided no justification in the Federal Register Notice that would

support application of the good cause exception. Nor do the good cause exceptions apply.

       237.    The EPA violated the APA by making its approval effective immediately upon

publication in the Federal Register, rather than no less than 30 days thereafter.

       238.    The EPA’s actions and omissions were arbitrary, capricious, an abuse of

discretion, not in accordance with the law, unsupported by substantial evidence, and otherwise in

violation of the APA, 5 U.S.C. § 706(2).

       239.    The EPA’s immediate effective date for Florida’s 404 program must be held

unlawful and set aside.

                                 NINTH CLAIM FOR RELIEF

        EPA’S FAILURE TO CODIFY FLORIDA’S PROGRAM VIOLATES THE
                     ADMINISTRATIVE PROCEDURE ACT

       240.    Plaintiffs adopt and incorporate by reference paragraphs 1–239 of this Complaint.

       241.    Codification in the Code of Federal Regulations is required for all documents of

an agency “having general applicability and legal effect . . . and . . . relied upon by the agency as

authority.” 44 U.S.C. § 1510(a).

       242.    EPA’s decision was intended to be a rule of general applicability that would have

the legal effect of transferring authority from the Corps to the state and authorizing the state 404

program.


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       243.    Whenever a rule is subject to codification, the agency must draft its notice as an

amendment to the Code of Federal Regulations before submitting it to the Office of the Federal

Register. 1 C.F.R. § 21.1(a). The agency must include in its publication “words of issuance”

and “amendatory language that precisely describes the relationship of the new provision to the

Code.” Id. § 21.1(b).

       244.    The EPA’s December 22, 2020, publication of its decision in the Federal Register

failed to include “words of issuance” or “amendatory language” codifying the state program into

the Code of Federal Regulations. 85 Fed. Reg. 83,553 (Dec. 22, 2020).

       245.    The EPA indicated that approval of the Florida 404 program would be codified at

40 C.F.R. 233 subpart H. 85 Fed. Reg. at 57,855.

       246.    The EPA has codified in the Code of Federal Regulations its approval of prior

states that have assumed 404 jurisdiction. See 40 C.F.R. § 233.70 (incorporating by reference

Michigan’s assumption program); 49 Fed. Reg 38,947-01 (approving and codifying Michigan’s

program into 40 C.F.R. § 233.70); 40 C.F.R. § 233.71 (incorporating by reference New Jersey’s

assumption program); 59 Fed. Reg. 9,933-01 (approving and codifying New Jersey’s assumption

program).

       247.    The EPA’s actions and omissions were arbitrary, capricious, an abuse of

discretion, not in accordance with the law, unsupported by substantial evidence, and otherwise in

violation of the APA, 5 U.S.C. § 706(2).

       248.    The EPA’s failure to codify the state program rendered the transfer of authority a

nullity. The subsequent transfer of authority must be held unlawful and set aside.




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                                  TENTH CLAIM FOR RELIEF

      EPA’S UNLAWFUL RELIANCE ON THE PROGRAMMATIC BIOLOGICAL
               OPINION VIOLATES ENDANGERED SPECIES ACT

        249.    Plaintiffs adopt and incorporate by reference paragraphs 1–248 of this Complaint.

        250.    Section 7 of the ESA requires that a biological opinion “detail[] how the agency

action affects the species or its critical habitat.” 16 U.S.C. § 1536(b)(3)(A).

        251.    Here, the “agency action” for Section 7 of the ESA was EPA’s decision to

approve the state 404 program and transfer 404 authority to the state.

        252.    Accordingly, before approving a state’s assumption of the CWA’s Section 404

permitting program, Section 7(a)(2) of the ESA required EPA to ensure that the state’s

assumption, and thus implementation of the program, would not jeopardize the continued

existence and recovery of listed species and critical habitat.

        253.    The ESA’s implementing regulations specify that a biological opinion must

include: “[a] detailed discussion of the environmental baseline of the listed species and critical

habitat [and] [a] detailed discussion of the effects of the action on listed species or critical

habitat.” 50 C.F.R. § 402.14(h)(1)(ii), (iii).

        254.    These requirements apply to the issuance of programmatic biological opinions.

50 C.F.R. § 402.14(c)(4). USFWS’ biological opinion concluded that approval of the state

program would result in “no jeopardy.”

        255.    USFWS’ biological opinion stated that its jeopardy analysis relied on: (1) the

status of the species; (2) the environmental baseline, which analyzes the condition of the listed

species in the action area, without the consequences to the listed species caused by the proposed

action; (3) the effects of the action, which includes all consequences to listed species that are

caused by the proposed action, including the consequences of other activities that are caused by


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the proposed action; and (4) the cumulative effects, which evaluates the effects of future, non-

Federal activities in the action area on the species. 16 U.S.C. § 1536(b)(4)(C)(i); 50 C.F.R.

§ 402.14(g).

       256.    On July 24, 2020, the state sent EPA its final biological assessment containing the

state’s conclusions regarding the effects of the state’s to-be proposed 404 program if approved

by EPA. 50 C.F.R § 402.12.

       257.    On September 2, 2020, EPA submitted a biological evaluation to USFWS to

initiate formal consultation on the state’s application. The biological evaluation was largely a

cut and paste of the biological assessment drafted by the state.

       258.    On November 19, 2020, USFWS transmitted to EPA a programmatic biological

opinion and incidental take statement regarding EPA’s approval of the state’s application. The

biological opinion relied heavily on and incorporated large portions of the biological evaluation

submitted by EPA.

       259.    In the biological evaluation, EPA found the proposed assumption is “likely to

adversely affect” 164 species under USFWS’ jurisdiction, is “not likely to adversely affect” nine

species, and would have “no effect” on sixty species.

       260.    EPA’s conclusions were inconsistent and contradictory. For example, EPA found

the action would have “no effect” on shortnose sturgeon, Gulf sturgeon, or Atlantic sturgeon,

despite also stating that “the action could result in a [likely to adversely affect] determination”

for shortnose sturgeon and that critical habitat for Gulf sturgeon is designated in several Florida

rivers, which may be affected by state 404 permits.

       261.    USFWS’ biological opinion also failed to provide a detailed discussion of the

environmental baseline and failed to provide a detailed discussion of the effects of the action.



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       262.    Rather than provide the requisite detailed discussion of the environmental

baseline, USFWS’ biological opinion incorporated by reference a portion of EPA’s biological

evaluation which merely consists of a chart listing previous 404 permits in Florida that involved

ESA consultations.

       263.    Instead of a detailed discussion of effects on each of the listed species and critical

habitats that may result from EPA’s approval of the state program, USFWS’ biological

opinion—again incorporating EPA’s biological evaluation, which mimics the state’s biological

assessment—providesd only a cursory overview of the harms to species and habitat from general

environmental degradation.

       264.    USFWS’ biological opinion did not conduct a legally sufficient jeopardy analysis

as to any species or an analysis of the potential destruction or adverse modification of critical

habitat. 16 U.S.C. § 1536(a)(2), (b).

       265.    USFWS’ biological opinion’s reliance on EPA’s insufficient biological evaluation

to make determinations required under the ESA was arbitrary and capricious and otherwise not

in accordance with the law.

       266.    USFWS’ biological opinion further improperly relied on USFWS’ memorandum

of understanding with the state in making its no jeopardy determination. The memorandum of

understanding establishes a process regarding individual permit decisions, not an assessment of

whether the federal action for consultation purposes—EPA’s approval of the state’s 404

assumption—may jeopardize listed species or adversely modify critical habitat, which requires

assessment of the proposed program as a whole.

       267.    Likewise, USFWS’ consideration of the likelihood of jeopardy or adverse

modification from the issuance of individual permits does not assess the likelihood of jeopardy



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or adverse modification from the entire action under consultation—assumed authority for all

dredge and fill permits.

       268.    USFWS’ biological opinion impermissibly failed to analyze the status of the

species, environmental baseline, effects of the action and cumulative effects in violation ofe the

ESA, 16 U.S.C. § 1536, and APA, 5 U.S.C. § 706(2)(A), rendering unlawful its “no jeopardy”

determination and determination that the action is not likely to destroy or adversely modify

designated critical habitat.

       269.    An “incidental take statement” must specify the amount and extent of incidental

take of the listed species that may occur without causing jeopardy or adverse modification,

includes “terms and conditions,” and provides for monitoring of take. 16 U.S.C. § 1536(b)(4);

50 C.F.R. § 402.14(i)(1)–(3).

       270.    USFWS’ biological opinion incidental take statement fails to specify the amount

or extent of incidental take, fails to impose a limit on incidental take, and fails to specify a take-

based trigger for reinitiating consultation, all in violation of the ESA.

       271.    The incidental take statement also fails to include any method for recording or

monitoring incidental take or to consider the cumulative impact of individual permit decisions.

       272.    EPA’s reliance on USFWS’ inadequate biological opinion and accompanying

incidental take statement to approve Florida’s assumption of the CWA Section 404 permitting

program violated Section 7(a)(2) of the ESA, 16 U.S.C. § 1536(a)(2).

       273.    EPA’s actions and omissions have harmed the Plaintiffs and—unless enjoined—

leave them without any adequate remedy at law.




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                              ELEVENTH CLAIM FOR RELIEF

               EPA’S FAILURE TO CONSULT WITH NMFS VIOLATE THE
                           ENDANGERED SPECIES ACT

        274.   Plaintiffs adopt and incorporate by reference paragraphs 1–273 of this Complaint.

        275.   Whenever an agency action “may affect” a listed species in the “action area,” the

agency must consult with either NMFS and/or USFWS. 16 U.S.C. § 1536; 50 C.F.R. § 402.13–

14.

        276.   “Any possible effect, whether beneficial, benign, adverse, or of an undetermined

character, triggers the formal consultation requirement.” 51 Fed. Reg. 19,926, 19,949 (June 3,

1986). The “threshold for formal consultation must be set sufficiently low to allow Federal

agencies to satisfy their duty to ‘insure’ under Section 7(a)(2).” Id. Only where the action

agency determines its actions will have no effect on listed species or critical habitat may it forego

consultation. 50 C.F.R. § 402.14(a).

        277.   The “action area” includes “all areas to be affected directly or indirectly by the

Federal action and not merely the immediate area involved in the action.” 50 C.F.R. § 402.02.

“Indirect effects are those that are caused by the proposed action and are later in time, but are

still reasonably certain to occur.” Id.

        278.   On April 15, 2020, NMFS concluded that there were no species under its

exclusive jurisdiction in assumable waters, and therefore unlawfully concluded that assumption

would have no effect on listed species. On its face, NMFS’ determination failed to consider,

much less analyze, all areas that would be affected by Florida’s program directly or indirectly, as

required under federal law. See 16 U.S.C. 1536(a)(2); 50 C.F.R. § 402.02.




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       279.    On August 28, 2020, EPA determined that consideration of a state 404 program

was a discretionary action subject to compliance with the ESA, thereby triggering a duty to

consult with USFWS and NMFS.

       280.    On September 2, 2020, EPA initiated formal consultation with USFWS, and

transmitted its “ESA Biological Evaluation for Clean Water Act Section 404 Assumption by the

State of Florida” (BE) (dated August 2020) to USFWS. In the biological evaluation, EPA

concluded that Florida’s application would have “no effect” on NFMS jurisdictional species,

based solely on the rationale in NMFS’ April 15, 2020, letter.

       281.    On September 2, 2020, EPA also sent a letter to NMFS confirming there were no

changes to the previous species list reviewed by NMFS in April and, relying on NMFS’ April 15,

2020, jurisdictional determination, concluded the state’s assumption would have no effect on

NMFS’ jurisdictional species.

       282.    On September 3, 2020, NMFS sent a letter to EPA stating that they concurred

with the “no effect” determination in EPA’s September 2, 2020, letter.

       283.    On October 30, 2020, NMFS in an email to EPA again concurred with EPA’s “no

effect” determination.

       284.    These determinations were all based on NMFS’ categorical conclusion that

because jurisdictional species would not be within assumed waters themselves, state assumption

would have no effect on species under their jurisdiction.

       285.    However, EPA’s approval of the state assumption application may directly and

indirectly affect species that are under NMFS’ jurisdiction.




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       286.     EPA’s actions and omissions were arbitrary, capricious, an abuse of discretion,

not in accordance with the law, unsupported by substantial evidence, and otherwise in violation

of the ESA and APA, 5 U.S.C. § 706(2).

       249.287.        The EPA’s actions and omissions have harmed and—unless enjoined—

will harm the Plaintiffs and leave them without any adequate remedy at law.

                               TWELFTH CLAIM FOR RELIEF

EPA’S FAILURE TO CONSULT ON CERTAIN SPECIES AND CRITICAL HABITATS
 UNDER USFWS JURISDICTION VIOLATES THE ENDANGERED SPECIES ACT

       288.     Plaintiffs adopt and incorporate by reference paragraphs 1–287 of this Complaint.

       289.     EPA is required by ESA section 7(a)(2) to initiate and complete consultation with

USFWS to ensure the state’s assumption would not jeopardize the continued existence of ESA-

listed species. 16 U.S.C. § 1536(a)(2).

       290.     Dredge and fill activities in assumed waters may affect nesting sea turtles and

adversely modify or destroy designated critical habitat for these species.

       291.     EPA therefore was required to consult with USFWS on those effects. 16 U.S.C.

§ 1536(a)(2).

       292.     EPA did not consider or make effects determinations for ESA-listed sea turtles

that nest on Florida’s beaches or their designated critical habitats. USFWS did not consult with

EPA regarding these ESA-listed sea turtles or their critical habitats.

       293.     EPA’s failure to complete consultation on these USFWS jurisdictional species

and habitats violates EPA’s procedural and substantive obligations under ESA Section 7.

       294.     EPA’s actions and omissions have harmed the Plaintiffs and—unless enjoined—

leave them without any adequate remedy at law.




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                            THIRTEENTH CLAIM FOR RELIEF

      USFWS’ CREATION OF THE TECHNICAL ASSISTANCE PROCESS IS AN
                    UNLAWFUL ULTRA VIRES ACTION
       295.    Plaintiffs adopt and incorporate by reference paragraphs 1–296 of this Complaint.

       296.    Plaintiffs have a cause of action to enjoin and declare unlawful official agency

actions that are ultra vires and exceed USFWS’ statutory authority.

       297.    USFWS’ incidental take statement, biological opinion, and memorandum of

understanding create an ESA scheme that is not authorized by law.

       298.    No provision of law authorizes the “technical assistance process” scheme created

by USFWS in the programmatic biological opinion, incidental take statement, and memorandum

of understanding to give the state and state permittees a workaround to avoid the requirements

that Congress provided for establishing take limits, extending liability coverage, and determining

jeopardy to species.

       299.    Because USFWS’ scheme is not authorized under any provision of law, it is ultra

vires and unlawful.

       300.    USFWS’ actions and omissions have harmed and—unless enjoined—will harm

the Plaintiffs and leave them without any adequate remedy at law.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

       (a)     Issue a declaratory judgment declaring that the EPA violated the Clean Water Act

and APA by taking a final agency action and making findings and conclusions that are arbitrary,

capricious, an abuse of discretion, not supported by substantial evidence, or otherwise not in

accordance with law, when making the decision that the state’s application was complete;




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       (b)      Issue a declaratory judgment declaring that the EPA violated the Clean Water Act

and APA by taking a final agency action and making findings and conclusions that are arbitrary,

capricious, an abuse of discretion, not supported by substantial evidence, or otherwise not in

accordance with law, when the agency approved the state’s application to assume jurisdiction

over the Clean Water Act 404 program;

       (c)      Issue a declaratory judgment declaring that USFWS’ biological opinion, “no

jeopardy” determination, and incidental take statement, and technical assistance process are ultra

vires and violated the ESA and APA;

       (d)      Issue a declaratory judgment declaring that EPA’s reliance on USFWS’ unlawful

biological opinion violated the ESA;

       (e)      Issue a declaratory judgment declaring that EPA violated the ESA by failing to

consult with NMFS;

       (c)(f) Issue a declaratory judgment declaring that EPA violated the ESA by failing to

consult with USFWS regarding nesting sea turtles;

       (d)(g) Issue a declaratory judgment declaring that USFWS’ scheme for permit-level

ESA “analysis” is not authorized by the law;

       (e)(h) Issue a declaratory judgment declaring that the Corps violated the RHA and APA

when producing its retained waters list;

       (f)(i)   Issue a declaratory judgment declaring that the EPA violated the APA by

providing an immediate-on-publication effective date for its approval of Florida’s program;

       (g)(j) Issue a declaratory judgment declaring that the EPA violated the APA by

transferring authority without codifying a lawful state program in the Code of Federal

Regulations;



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       (h)(k) Vacate and set aside the EPA’s decision that the state’s application is complete;

       (i)(l)   Vacate and set aside the EPA’s decision to approve the state’s application to

assume jurisdiction over the Clean Water Act 404 program and remand with instructions for

reopening and completing EPA’s consideration of Florida’s assumption application;

       (j)(m) Vacate and set aside USFWS’ programmatic biological opinion and incidental

take statement for the challenged EPA decision and remand with instructions for reopening and

reinitiating consultation;

       (k)(n) Vacate and set aside the Corps’ retained waters list submitted in conjunction with

the state’s application;

       (l)(o) Hold unlawful and set aside the EPA’s December 22, 2020, immediate effective

date for the Florida 404 program;

       (m)(p) Enjoin the EPA’s approval and transfer of authority to the state;

       (n)(q) Issue any other appropriate injunctive relief;

       (o)(r) Allow the Plaintiffs to recover the reasonable fees, costs, and disbursements of

this action, including attorneys’ fees associated with this litigation under the Equal Access to

Justice Act, 28 U.S.C. § 2412; and

       (p)(s) Grant such further and additional relief as the Court may deem just and proper.

       Respectfully submitted this 14 4th day of January 20221,


                                                      /s/ Tania Galloni
                                                      TANIA GALLONI*
                                                      Fla. Bar No. 619221
                                                      CHRISTINA I. REICHERT*
                                                      Fla. Bar No. 0114257
                                                      Earthjustice
                                                      4500 Biscayne Blvd., Ste 201
                                                      Miami, FL 33137
                                                      T: 305-440-5432

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                                     F: 850-681-0020
                                     tgalloni@earthjustice.org
                                     creichert@earthjustice.org

                                     /s/ Bonnie Malloy
                                     BONNIE MALLOY*
                                     Fla. Bar No. 86109
                                     Earthjustice
                                     111 S. Martin Luther King Jr. Blvd
                                     Tallahassee, FL 32301
                                     T: 850-681-0031
                                     F: 850-681-0020
                                     bmalloy@earthjustice.org

                                     /s/ Anna Sewell
                                     ANNA SEWELL
                                     D.C. Bar No. 241861
                                     Earthjustice
                                     1001 G St., Ste 1000
                                     Washington, DC 20001
                                     T: 202-667-4500
                                     asewell@earthjustice.org

                                     Counsel for Plaintiffs

                                     * * Appearing under LCvR
                                     83.2(c)(1)Admitted Pro Hac Vice




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